                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TENNESSEE


  MICHELLE L. ALMANZA,                              )
                                                    )
                 Plaintiff,                         )
                                                    )
  v.                                                )     No.:   3:15-CV-389-TAV-HBG
                                                    )
  JEFFERSON B. SESSIONS, III                        )
  Attorney General,                                 )
  United States Department of Justice,              )
                                                    )
                 Defendant.                         )


                                   AGREED PRETRIAL ORDER


          The parties, through counsel, submit this Agreed Pretrial Order pursuant to Section 5 of

  the Court’s Scheduling Order and Fed. R. Civ. P. 16(d). This case is set for a jury trial on

  Monday, June 18, 2018. A final pretrial conference will be held on Monday, June 11, 2018, at

  1:30 p.m. before the Honorable Chief U.S. District Judge Thomas A. Varlan. Attorneys Jennifer

  Morton and Maha Ayesh will represent Plaintiff Michelle Almanza. Special Attorneys, Assistant

  United States Attorneys Christopher Yates and Brandi M. Stewart will represent Defendant

  Jefferson B. Sessions, III, Attorney General, United States Department of Justice. The parties

  propose this Agreed Pretrial Order to govern the trial of this case:

       a) Jurisdiction

          The Court has subject matter jurisdiction over this case pursuant to 28 U.S.C. § 1331

  because it involves federal questions under the Constitution, laws, or treaties of the United

  States. Specifically, Plaintiff’s claims of sex and age discrimination and retaliation arise under




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  Title VII of the Civil Rights Act of 1964, 42 U.S.C. §2000e-2(a) and §2000e-3(a) and the Age

  Discrimination in Employment Act (ADEA), 29 U.S.C. § 626, et seq. The parties do not contest

  the jurisdiction of the Court in this matter.

     b) Pleadings

        The pleadings are amended to conform to this Agreed Pretrial Order, to the extent that it is

 consistent with the Court’s findings in its ruling on Defendant’s Amended Motion for Summary

 Judgment (Doc. No. 37).

     c) Plaintiffs’ Theory of the Case

         Plaintiff Michelle Almanza pursues claims against Defendant Department of Justice

  under Title VII of the Civil Rights Act of 1964, 2 U.S.C. §2000e, et seq, and the Age

  Discrimination in Employment Act (ADEA), 29 U.S.C. § 626, et seq. She seeks relief for harm

  and loss caused by Defendant’s actions subjecting her to a hostile work environment and pushing

  her out of her IT job at the U.S. Attorney’s Office in the Eastern District of Tennessee (EDTN)

  because of her sex and age and because she spoke out against unlawful discrimination.

         Michell Almanza worked as an IT Specialist for the U.S. Attorney’s Office in the Eastern

  District of Tennessee from June 2008 until November 28, 2014. Specifically, Ms. Almanza was

  hired into the IT department in 2008 as the Assistant Systems Manager (ASM) and Case

  Manager. She enjoyed her work, was well-liked by co-workers, and received excellent

  performance reviews throughout her over 25 years of federal government employment.

  Knoxville was home to Ms. Almanza, who, in 2014, was raising children as a single mom and

  had extended family in the area. But her work environment had also become increasingly

  permeated with hostility after Chris English became her supervisor in 2012. After Mr. English

  hired a young male student, Robert Irving, in October 2012, Ms. Almanza noticed that Mr.

  English worked more closely with Irving, cut her out of communications, and assigned her duties
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  to Irving. Ms. Almanza periodically addressed this unequal treatment to English and to his

  supervisor, Jane Archer. Each report resulted in Mr. English intensifying his retaliatory scrutiny

  and criticism of her, as he obsessively documented minutia about Ms. Almanza, defensively

  stressed to her and others that she was not his peer, characterized any question or concern she

  expressed about work as a threat to his authority, and even refused to work alone with her.

         By spring 2014, after Ms. Almanza complained that Chris English was setting her up for

  failure and giving her job duties to Irving, English set out on a plan to remove her as the

  Assistant Systems Manager and reassign her to a job that she did not want. When Ms. Almanza

  complained to English’s supervisors about the hostile environment, instead of assisting Ms.

  Almanza, the Agency allowed English to implement his discriminatory and retaliatory plan to

  oust her. Behind the scenes, English and the Agency developed what English himself referred to

  as a “cover story” to justify their discriminatory and retaliatory actions against Ms. Almanza,

  including ways to rationalize changing her job description, hiring a young male contract worker

  into a full-time federal employee position so they could reassign Ms. Almanza to another

  position, and proceeding with disciplinary action against her. Chris English turned Ms.

  Almanza’s workplace into an unbearably hostile environment in which he criticized everything

  she did, actively built a case for discipline against her, and made it almost impossible for her to

  do her job by isolating her, restricting her administrative access, and prohibiting her from

  assisting staff with IT needs. With Agency support, English continued to follow through with

  his plan to remove Ms. Almanza from her position as the Assistant Systems Manager, reassign

  her to a less desirable job, and make her miserable enough to leave.

         By fall 2014, soon after Ms. Almanza filed a formal complaint of discrimination and

  retaliation, her treatment at work worsened, and she realized there was no hope for it to improve.

  In November, she very reluctantly left her home, her family, and the job she once loved for a

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   lateral transfer 700 miles away to a place she never wanted to live. English, with Agency

   support, intentionally drove Ms. Almanza out of the district because he preferred to work

   with younger male employees and because she complained about his discriminatory

   treatment of her compared to her younger male co-workers. Since driving Ms. Almanza

   away, English and the Agency have hired three full-time male IT specialists, resulting in an

   entirely male IT staff. None of these male employees have had to work under the restrictions

   and demands that English had placed on Ms. Almanza.

         Ms. Almanza is now seeking relief for her harm and loss due to a hostile work

   environment and constructive discharge based on sex and age discrimination, and in

   retaliation for her protected activity.

       d) Defendant’s Theory of the Case

         Defendant unequivocally denies Plaintiff’s claims in this lawsuit. Plaintiff served as an IT

  Specialist for the United States Attorney’s Office for the Eastern District of Tennessee (the

  “District”), a component of the United States Department of Justice (DOJ), from June 8, 2008

  until November 28, 2014, the date that Plaintiff decided to leave the District and become the

  Systems Manager for the United States Attorney’s Office for the Western District of Wisconsin

  (WDWI), another component of DOJ.

         In Plaintiff’s own words, there was a personality conflict between her and her immediate

  supervisor, Mr. Christopher English. On January 29, 2012, Mr. English was hired as the new

  Systems Manager for the District, a position that Plaintiff also applied for, but did not receive.

  As the Systems Manager, Mr. English served as the head of the District’s IT operations and was

  in charge of servicing the IT needs of the District’s offices in Knoxville, Greeneville, and

  Chattanooga. The United States Attorney was concerned about the working relationship between


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  Plaintiff and Mr. English because Plaintiff was very disappointed that she did not get the

  Systems Manager’s position with the District. From the end of 2012 throughout 2013, Plaintiff

  repeatedly showed a lack of civility toward Mr. English, often calling him names such as bipolar,

  idiot, idiot boy, twit, and making other derogatory comments about him to others inside and

  outside of the District.

          By the end of 2012 and into the beginning of 2013, Ms. Jane Archer, the Administrative

  Officer for the District and Mr. English’s first-level supervisor, met with Mr. English and

  Plaintiff on several occasions to address the communication issues between them. The record

  reflects that the communication issues between Plaintiff and Mr. English in 2012 and 2013

  evidence a personality conflict between them, not discrimination, retaliation, or harassment.

          During their meetings with Ms. Archer, Mr. English grew concerned that Plaintiff was

  not being completely honest about their interactions. As a result, Mr. English began documenting

  all of his interactions with Plaintiff through “memos for record” because—as he stated in several

  memos drafted contemporaneously with their dispute––he did not trust Plaintiff, not because she

  was a woman, over the age of 40. Plaintiff acknowledges that her working relationship with Mr.

  English was largely without issue throughout the rest of 2013, until spring 2014.

          In spring 2014, Plaintiff again complained to Ms. Archer about their communication

  issues. Ms. Archer took several steps in an effort to monitor and streamline their

  communications. In doing so, Ms. Archer observed that Plaintiff contributed to the very

  communication issues about which she complained. In May 2014, Ms. Archer met with Plaintiff

  to discuss several of her emails in an effort to explain to Plaintiff how her emails were

  argumentative, insubordinate and demeaning.

          Shortly thereafter, in June 2014, Plaintiff sent an email to Ms. Archer and Ms. Nancy



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  Harr, who served as the First Assistant United States Attorney and Ms. Archer’s immediate

  supervisor, stating, for the first time, that she wanted out of the alleged “hostile” situation

  between her and Mr. English. Upon seeing the word “hostile,” management immediately reached

  out to the Executive Office for United States Attorneys, General Counsel’s Office (“GCO”) to

  seek additional guidance on how to address the situation between Plaintiff and Mr. English. On

  July 2, 2014, Ms. Archer and Ms. Harr held a meeting with Plaintiff to discuss potential solutions

  to the issues between Plaintiff and Mr. English. Ultimately, the District did not get an

  opportunity to make a final decision on how best to proceed before Plaintiff filed an EEO claim

  and decided to leave the District.

         On a completely separate track, Mr. English expressed his frustrations to Ms. Archer that

  Plaintiff was allowed to be insubordinate and demeaning to him without consequence, and he

  provided several examples where he felt Plaintiff’s conduct warranted action, particularly

  Plaintiff’s May 2014 correspondence with him. After presenting these concerns to Ms. Archer,

  Mr. English was directed to work with GCO on the appropriate action. On July17, 2014, Mr.

  English issued a Letter of Reprimand to Plaintiff for insubordination. Plaintiff grieved the Letter

  of Reprimand to Ms. Archer, who upheld the discipline and identified legitimate non-

  discriminatory reasons for doing so. Plaintiff was not disciplined because of her sex, age, or in

  retaliation for complaining about Mr. English. Plaintiff was disciplined for her own acts of

  insubordination.

         Plaintiff initiated informal EEO counseling on July 30, 2014. That same day, Ms. Harr

  circulated an email to the IT staff indicating that WDWI needed IT assistance, and, within

  minutes, Plaintiff responded expressing her desire to assist, which was granted by the District.

  Plaintiff traveled to Wisconsin to assist WDWI with their IT needs from August 5, 2014 to



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  August 10, 2014. When she returned to the District, Plaintiff informed Ms. Harr that she had a

  “wonderful experience.”

         On or about September 10, 2014, Plaintiff filed her formal EEO complaint against the

  District. Plaintiff also applied for, and received, the Systems Manager’s position at WDWI, a

  title upgrade; her pay and benefits remained the same. Plaintiff’s ultimate decision to leave the

  District was her choice, she was not constructively discharged.

         Currently, Plaintiff is still employed with Defendant as an IT Specialist with the Northern

  District of Georgia making $97, 606 as a GS-12-Step 9, more than her salary at the Eastern

  District of Tennessee, which was $85,711 at the time of her departure. Since Plaintiff’s

  departure, two female contractors and three IT specialists have worked in the District’s IT group.

  Notably, Mr. English has not experienced any of the challenges that he experienced with Plaintiff

  with any of the employees who have joined the District since Plaintiff’s departure.

  Issues to be Submitted to the Trial Judge and Jury:

           Issues for the Trial Judge:

           1)     If the jury finds in favor of Michelle Almanza, this Court must determine

           whether reinstatement is desirable and feasible, or whether the jury should determine

           an appropriate amount of front pay to award to Ms. Almanza.

           2)     If the jury finds in favor of Michelle Almanza, this Court must determine

           whether she is entitled to an award of attorneys’ fees, costs, and interest, and the

           amounts of any such award.

         Issues for the Jury:

           3)     Whether Ms. Almanza established her sex-based claim of hostile

           work environment?


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         4)     Whether Ms. Almanza established her age-based claim of hostile

         work environment?

         5)     Whether Ms. Almanza established her retaliation-based claim of hostile

         work environment?

         6)     Whether Ms. Almanza established her sex-based claim of constructive

         discharge from the U.S. Attorney’s office in East Tennessee

         7)     Whether Ms. Almanza established her age-based claim of constructive

         discharge from the U.S. Attorney’s office in East Tennessee.

         8)     Whether Ms. Almanza established her retaliation-based claim of

         constructive discharge from the U.S. Attorney’s office in East Tennessee?

                Damages: If the jury finds in favor of Michelle Almanza on any of her

         claims, it must determine what damages she may recover as follows:

         9)     Whether Ms. Almanza is entitled to recover damages for backpay, lost

         earnings, and expenses, and if so, in what amount?

         10)    If the Court determines that front pay is appropriate, then what amount of

         front pay will reasonably compensate Ms. Almanza for future economic loss?

         11)    Whether Ms. Almanza is entitled to compensatory damages, including for

         pain and suffering, inconvenience, mental anguish, emotional distress, loss of

         enjoyment of life, and other non-economic losses, and if so, in what amount?

         12)    Whether Ms. Almanza mitigated her damages, to include whether the salary,

         leave, performance awards, and other benefits that Ms. Almanza continued to receive

         from the United States Department of Justice should offset any portion of her award

         for monetary relief.



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  Stipulations of Fact

           1.      Michelle Almanza, born 1972, began working for the federal government in

    1990. She was hired as an IT Specialist in the United States Attorney’s Office for the

    Eastern District of Tennessee on June 8, 2008, as a GS-12, step 4.

           2.      Ms. Almanza worked in the United States Attorney’s Office for the Eastern

   District of Tennessee until November 28, 2014.

           3.      From November 30, 2014 until June 25, 2017, Ms. Almanza worked in the

    United States Attorney’s Office for the Western District of Wisconsin. When she joined the

    Western District of Wisconsin she was referred to as the Systems Manager.

           4.      From June 25, 2017 to the present, Ms. Almanza has worked in the U.S.

   Attorney’s Office for the Northern District of Georgia.

           5.      At all times while employed as an IT Specialist for the United States

   Department of Justice, Ms. Almanza’s pay grade has been GS-12, and her step level (or

   within-grade increase), has increased from step 4 to step 9.

           6.      Ms. Almanza’s immediate supervisor when she began working in the

   Eastern District of Tennessee in 2008 was Karen Minser. Ms. Minser’s official job title

   was Supervisory Information Technology (“IT”) Specialist, but she was commonly

   referred to as the Systems Manager. Ms. Minser retired from the Eastern District of

   Tennessee, effective June 30, 2012.

           7.      Mr. Christopher English began working for the federal government in

   1989. He became Ms. Almanza’s immediate supervisor on January 29, 2012, when he

   was hired to replace Ms. Minser as the Supervisory IT Specialist. Ms. Almanza also

   applied for Ms. Minser’s position but was not selected.


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            8.     Mr. English is referred to as the Systems Manager for the Eastern

    District of Tennessee. Mr. English’s pay grade was GS-13, step 8 when he joined the

    District. His pay grade is currently GS-13, step 10.

            9.     Mr. English’s immediate supervisor was Administrative Officer Jane Archer.

    Ms. Archer left the Eastern District of Tennessee, effective August 24, 2014. Ms. Archer

    retired from federal service on August 31, 2015.

            10.    After Ms. Archer left the Eastern District of Tennessee in August 2014, then-

    First Assistant United States Attorney Nancy Harr also became the Acting Administrative

    Officer for the Eastern District of Tennessee. As the Acting Administrative Officer, Ms. Harr

    served as Mr. English’s immediate supervisor, and she served in these dual positions until after

    Ms. Almanza left the Eastern District of Tennessee.

            11.    Mr. William Killian served as the United States Attorney for the Eastern District

    of Tennessee from October 4, 2010 to December 5, 2015.

          12.      Currently, Mr. English’s immediate supervisor is Connie Moody. Ms. Moody

   was hired to replace Ms. Archer as the Administrative Officer for the Eastern District of

   Tennessee and began working in that role on February 22, 2015.

            13.    On October 29, 2012, Robert Irving, born 1983, was hired as an IT Student

    Trainee in the Eastern District of Tennessee. Mr. Irving continued to work in that position

    until May 2016, when he resigned. Mr. Irving’s pay grade was GS-01, step 1when he first

    began in this position. When he left this position, Mr. Irving was a GS-05, step 2.

            14.    On February 11, 2013, Ms. Amber J. Hensley, born in 1990, was hired as an

    IT Student Trainee in the Eastern District of Tennessee. Ms. Hensley’s pay grade was GS-02,

    step 1. Ms. Hensley resigned from the Eastern District of Tennessee on July 5, 2013. Her pay



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    grade was GS-02, step 1 when she resigned.

           15.       On February 24, 2013, Shannon Mann, born 1990, was hired as a Student

    Trainee (Clerical) and worked with the IT staff. Ms. Mann’s pay grade was GS-02, step 1,

    when she first began her position. She resigned from the Eastern District of Tennessee on

    July 19, 2013. Her pay grade was GS-02, step1 when she resigned.

           16.       On September 30, 2013, William Heckman, born in 1987, a contractor with

    BAE Systems, was assigned to work with the Eastern District of Tennessee in the

    Chattanooga branch office. On February 22, 2015, Mr. Heckman was hired by the Eastern

    District of Tennessee as an IT Specialist, with a pay grade of GS-05, step 1. He currently

    works as a GS-9, step 2.

           17.       On November 18, 2014, Alisha Mainer, born 1990, a contractor with BAE

    Systems, was assigned to work with the Eastern District of Tennessee in the Greeneville

    branch office. Ms. Mainer worked at the Greeneville office until she resigned on May 20,

    2016. Ms. Mainer joined the office again as a contractor from July 5, 2016 to June 30, 2017

    based in the Knoxville office. She resigned from the Eastern District Tennessee Office on

    June 30, 2017.

           18.       On May 31, 2016, Bryan Brandenburg, born 1983, was hired as an IT

    Specialist in the Knoxville branch office of the Eastern District of Tennessee, with a pay

    grade of GS-11, step 1. Mr. Brandenburg filled the full-time equivalency (FTE) position

    vacated by Ms. Almanza. He currently works as a GS-11, step 2.

           19.       On January 22, 2017, David Woodward, born 1976, was hired as an IT

    Specialist in the Knoxville branch office of the Eastern District of Tennessee, with a pay

    grade of GS-12, step 10. He currently works as a GS-12, step 10.



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           20.       Ms. Almanza contacted the United States Department of Justice’s Equal

   Employment Opportunity office to file her Pre-Complaint of Discrimination on July 30, 2014.

           21.       Ms. Almanza performed District Assistance at the Western District of Wisconsin

   from August 6, 2014 to August 15, 2014.

           22.       The Equal Employment Opportunity office counselor assigned to Ms.

   Almanza’s complaint contacted William Killian, the United States Attorney for the Eastern District

   of Tennessee on August 18, 2014 to discuss her allegations.

           23.       Ms. Almanza filed a formal Complaint of Discrimination on September 10,

   2014.

           24.       Ms. Almanza’s last day with the United States Attorney’s Office in the Eastern

   District of Tennessee was November 28, 2014.

        e) Novel or Unusual Questions of Law or Evidence

      Defendant’s motion for summary judgment is still pending before this Court. The summary

   judgment briefings discuss the law, and each party has filed or will file motions in limine

   regarding various evidentiary issues. Other than these pending issues, the parties do not believe

   this case presents any novel or unusual questions of law or evidence.

        f) Estimated Length of Trial

            The parties estimate the trial will last four to five (4-5) working days.

        g) Possibility of Settlement
           The parties believe the case is suitable for mediation but have not mediated the

    case pursuant to Local Rule 16.4. The parties have a private mediation scheduled for

    June 4, 2018.

        h) Miscellaneous matters that may contribute to the just, speedy, and
        inexpensive determination of the case.

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           The parties are unaware of any additional matters that may contribute to the just,

    speedy, and inexpensive determination of the case.


   Respectfully submitted this 21st day of May, 2018.

   APPROVED FOR ENTRY BY:

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                                    s/ Thomas A. Varlan
                                    CHIEF UNITED STATES DISTRICT JUDGE




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